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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

John Martinez
                                  Plaintiff,
v.                                                   Case No.: 1:23−cv−01741
                                                     Honorable Thomas M. Durkin
Reynaldo Guevara, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 15, 2024:


       MINUTE entry before the Honorable Sheila M. Finnegan. Defendant Officers'
Motion to Compel the Cook County State's Attorney's Office to Comply with Records
Subpoena [177] is taken under advisement. By agreement, the Cook County State's
Attorney's Office response is due by 9/4/2024 and Defendant Officers' reply is due by
9/18/2024. Mailed notice (sxw)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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